Filed 04/01/16                                    Case 15-14228                                           Doc 91


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :        Oscar Gutierrez                                    Case No : 15−14228 − B − 13
                                                                              Date : 03/31/2016
                                                                              Time : 01:30

    Matter :            [73] − Amended Motion/Application by Cynthia A. Arroyo to Withdraw as Attorney
                        [CAA−2]. 70 Motion/Application to Withdraw as Attorney Filed by Creditor Carlos
                        Garcia (bres)


    Judge :             Rene Lastreto II                        Courtroom Deputy : Jennifer Dauer
    Department :        B                                               Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


                                               CIVIL MINUTE ORDER


    For the reasons set forth in the court's civil minutes, docket number 82,

    IT IS ORDERED that the motion is denied without prejudice.




                 Apr 01, 2016
